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                 Exhibit 1
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 In re                                                                 18-md-2865 (LAK)

 CUSTOMS AND TAX ADMINISTRATION OF
 THE KINGDOM OF DENMARK                                       Request for International Judicial
 (SKATTEFORVALTNINGEN) TAX REFUND                             Assistance pursuant to the Hague
 SCHEME LITIGATION                                                     Convention of
                                                               18 March 1970 on the Taking of
 This document relates to: All Cases.                            Evidence Abroad in Civil or
                                                                    Commercial Matters




                The United States District Court for the Southern District of New York presents

its compliments to the appropriate judicial authority of Denmark, and requests international

judicial assistance to obtain evidence to be used in a civil proceeding before this court in the

above captioned matter. This request is made pursuant to, and in conformity with, the Hague

Convention of 18 March 1970 on the Taking of Evidence Abroad in Civil or Commercial

Matters.

                This Court requests the assistance described herein as necessary in the interests of

justice. The assistance requested is that the appropriate judicial authority of Denmark compel

the below named entity, by its Corporate Representatives, to produce documents and testimony.

                It is expected, based on existing timetables, that the United States District Court

for the Southern District of New York may schedule trial in or around 2021. Summary judgment

motions would be due before trial. In the United States, parties may move for summary

judgment. A party moving for or opposing summary judgment must present evidence to support

its arguments, as they do at trial.
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             The particulars of this Hague Evidence Request are as follows:

   1. Sender                         Honorable Lewis A. Kaplan
                                     District Judge
                                     United States District Court for the Southern District of
                                     New York

   2. Central Authority of the       Ministry of Justice
      Requested State                Procedural Law Division
                                     Slotsholmsgade 10
                                     1216 COPENHAGEN K
                                     Denmark

   3. Person to whom the             Neil J. Oxford
      executed request is to be      Hughes Hubbard & Reed LLP
      returned                       One Battery Park Plaza
                                     New York, NY 10004-1482
                                     Tel.: (212) 837-6843
                                     Email: neil.oxford@hugheshubbard.com

   4. Specification of the day by which the requesting authority requires receipt of the
      response to the Letter of Request

      Date                           March 31, 2020

      Reason for Urgency             Discovery is underway in this matter and trial may be
                                     scheduled to occur in 2021.

IN CONFORMITY WITH ARTICLE 3 OF THE CONVENTION, THE
UNDERSIGNED APPLICANT HAS THE HONOR TO SUBMIT THE FOLLOWING
REQUEST:
   5a. Requesting judicial     Honorable Lewis A. Kaplan
       authority (Article 3,a) District Judge
                               United States District Court for the Southern District of
                               New York

   5b. To the competent              Denmark
       authority of (Article 3,a)

   5c. Names of the case and any     In re Customs and Tax Administration of the Kingdom
       identifying number            of Denmark (Skatteforvaltningen) Tax Refund Scheme
                                     Litigation 18-md-2865 (LAK)

   6. Names and addresses of the parties and their representatives
        a. Plaintiff              Skatteforvaltningen
                                  Østbanegade 123

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                                        2200 København Ø
                                        Denmark

                Representatives         William R. Maguire
                                        Marc A. Weinstein
                                        Neil J. Oxford
                                        Dustin P. Smith
                                        Hughes Hubbard & Reed LLP
                                        One Battery Park Plaza
                                        New York, New York 10004-1482
                                        United States

            b. Defendants               See attached Schedule A.

   7. Nature of the Proceedings

           a. Nature of the Proceedings

               In May and June 2018, Plaintiff Skatteforvaltningen (“SKAT”) filed 140 similar

complaints in eleven different federal judicial districts. On October 3, 2018, the federal

complaints were consolidated in this Multi-District Litigation (“MDL”) and assigned to the

Honorable Lewis A. Kaplan. On February 26, 27, and 29, 2019, SKAT filed 43 additional

complaints, which were consolidated into the MDL assigned to Judge Kaplan. On November 19,

2019, SKAT filed another complaint in the Southern District of New York, which has not yet

been consolidated into the MDL.

               This case stems from a fraudulent tax refund scheme to deceive SKAT into

paying out over 12.7 billion Danish Kroner (“DKK”), the equivalent of approximately $2.1

billion (US) of allegedly withheld dividend tax. Each of over 300 claimants purported to own

shares in Danish companies listed on the OMX Copenhagen 20 Index, the 20 most-traded stocks

in Denmark. Danish companies are required to withhold 27% tax on dividends they pay to

shareholders. Under certain double taxation treaties between Denmark and other countries,

including the United States, this tax is reimbursable to certain non-Danish shareholders. The



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claimants, acting through their agents and representatives, applied to SKAT claiming repayments

of tax withheld on dividends that they purported to have earned on shares of Danish companies

that they claimed to hold. These applications are alleged to have been fraudulent because the

claimants did not own the shares that they claimed to own, did not earn the dividends they

claimed to have earned, and were not entitled to the tax refunds they claimed. Based on the

allegedly fraudulent tax refund claims submitted by the defendants in the MDL, SKAT asserts

that it paid baseless withholding tax refund claims of approximately $785,551,400 (US).

Claimants that were based in the United States, along with certain of their authorized

representatives, are the Defendants in this MDL.

               The claimants effectuated the scheme by appointing agents to apply to SKAT for

refunds in respect of shares in Danish companies that they did not own. The claimants each

submitted refund claims seeking the full 27% withholding tax that had allegedly been withheld

from distributions on shares of Danish companies the claimants purported to own. These claims

were submitted through payment agents, which in turn submitted the claims by mail or email

transmission to SKAT. Each entity claiming a withholding tax refund submitted to SKAT a

“credit advice,” “income advice,” “tax voucher,” or similar document (a “Credit Advice”)

created by a custodian (“Custodian”) that purported to show the claimant’s ownership of shares

in Danish companies listed on the OMX Copenhagen 20 Index. Some of the Custodians,

however, now claim that the Custodians themselves did not have custody of the securities

reflected on their Credit Advice, but instead that they had custody accounts with other credit

institutions (the “Sub-Custodians”) where the securities were held. Specifically, some of the

Custodians now claim that Skandinaviska Enskilda Banken AB (“SEB”) served as a Sub-

Custodian that held Danish Securities on behalf of the Custodians, and ultimately, the



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Defendants in this MDL. Ultimately, all shares of Danish listed companies are registered with

VP Securities A/S, a central depository which maintains records of any shares of the Danish

Securities held by any such Sub-Custodian, such as SEB.

           b. Summary of Complaints

               The allegations in SKAT’s complaints in the consolidated actions are

substantially similar. SKAT brought complaints against three classes of defendants that are

subject to jurisdiction in the United States: “Plan Defendants,” the pension plans that submitted

fraudulent dividend withholding tax refund claims to SKAT; “Authorized Representative

Defendants,” individuals who signed powers of attorney authorizing Payment Agents to submit

fraudulent dividend withholding tax refund claims to SKAT; and “Incorporator Defendants,”

defendants who incorporated business entities associated with the Plan Defendants that

submitted fraudulent dividend withholding tax refund claims to SKAT. The complaints allege

that between 2012 and 2015, Defendants submitted fraudulent requests for tax refunds to SKAT.

Plaintiff SKAT asserts claims for fraud, aiding and abetting fraud, payment by mistake, unjust

enrichment, negligent misrepresentation, and related claims.

           c. Summary of Defense

               The Defendants deny the facts set forth in support of the claims asserted in the

complaints.

    8a. Evidence to be obtained or      Plaintiff SKAT seeks documents and testimony from
        other judicial act to be        Skandinaviska Enskilda Banken AB, Copenhagen
        performed (Article 3,d)         (“SEB”).

    8b. Purpose of the evidence or      The documents requested from SEB will demonstrate
        other judicial act sought       that the Defendants made false representations
                                        regarding their ownership of shares in Danish
                                        companies; that Defendants did not own shares in the
                                        Danish companies in which they purported to own
                                        shares or did not own such shares in sufficient quantities

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                                       to obtain dividends they claim to have received; the
                                       circumstances of Defendants’ ownership of shares and
                                       receipt of dividends from the Danish companies in
                                       which Defendants purported to own shares; and that
                                       Defendants were not paid dividends from Danish
                                       companies in which they purported to own shares and
                                       from which Defendants purported to have received
                                       dividends, including that Defendants did not have tax
                                       withheld on the dividends they purported to receive
                                       from Danish companies.

    9. Identity and address of   Anders Peter Bryde Rasmussen (Corporate
       any person to be examined Representative of SEB)
       (Article 3,e)             Bernstorffsgade 50
                                 1577 Copenhagen V
                                 Denmark

                                       Peter Høltermand (Corporate Representative of SEB)
                                       Bernstorffsgade 50
                                       1577 Copenhagen V
                                       Denmark


   10. Questions to be put to the person to be examined or statement of the subject-matter
       about which they are to be examined (Article 3,f)

              SEB is a financial services group that some of the Custodians claim held Danish

Securities and/or derivatives based on Danish Securities as a Sub-Custodian for the Defendants’

Custodians. The subject of the Corporate Representatives’ testimony will be:

           a. The nature of the relationship, if any, between SEB, the Defendants, and/or
              Custodians of Defendants;

           b. The services, if any, provided by SEB to Defendants and/or their Custodians,
              including whether SEB held Danish Securities and/or derivatives based on Danish
              Securities for Defendants and/or their Custodians;

           c. SEB’s opening and maintenance of accounts for Defendants and/or their
              Custodians, including account opening statements and other records;

           d. Agreements between SEB and Custodians of Defendants;

           e. SEB’s knowledge of whether Defendants owned specific Danish Securities and/or
              derivatives based on Danish Securities and the manner in which Defendants


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               and/or their Custodians purchased specific Danish Securities and/or derivatives
               based on Danish Securities;

           f. SEB’s knowledge of and role in facilitating the Defendants’ and/or their
              Custodians’ trading strategy;

           g. Any financing or other lending arrangements between SEB and Defendants and/or
              their Custodians;

           h. Communications between SEB, the Defendants, and/or the Custodians of
              Defendants, regarding Danish Securities and/or derivatives based on Danish
              Securities;

           i. The Defendants’ claims for dividend withholding tax refunds; and

           j. Authentication of documents if necessary.

   11. Documents or other property to be inspected (Article 3,g)

               The United States District Court for the Southern District of New York requests

that SEB produce the following documents, described below, which are in its custody,

possession or control, provide a business records certification in the form annexed hereto, and to

answer questions upon oral deposition regarding the authenticity, purpose, and meaning of the

documents so produced.

           a. Definitions

 i. “Applicable Period” means January 1, 2012 until December 31, 2015.

ii. “Custodians” means Argon Markets, BNP Securities Services SCA, ED&F Man Capital

    Markets Limited, Indigo Securities Ltd, Investec Bank PLC, Lindisfarne Partners LLP,

    North Channel Bank GmbH, Old Park Lane Capital PLC, Salgado Capital, Solo Capital

    Partners LLP, Telesto Markets LLP, and West Point Derivatives Ltd., and any of their

    affiliates, subsidiaries, predecessors, successors, assigns, principals, officers, directors,

    employees, agents, representatives, trustees, and attorneys.

iii. “Danish Securities” means shares of any one of the following Danish securities:


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                           1. A.P. Møller Mærsk A/S
                           2. A.P. Møller Mærsk A/S A
                           3. A.P. Møller Mærsk A/S B
                           4. Auriga Industries A/S
                           5. Carlsberg A/S
                           6. Carlsberg A/S - B
                           7. CHR. Hansen Holding A/S
                           8. Coloplast A/S
                           9. Coloplast A/S - B
                           10. Dampskibsselskabet Norden A/S
                           11. Danske Bank A/S
                           12. DSV A/S
                           13. FLSmidth & CO A/S
                           14. Gn Store Nord A/S
                           15. H Lundbeck A/S
                           16. IC Company A/S
                           17. ISS World Services A/S
                           18. NKT Holding A/S
                           19. Novo Nordisk A/S
                           20. Novo Nordisk A/S B
                           21. Novozymes A/S
                           22. Novozymes A/S B
                           23. Pandora A/S
                           24. Simcorp A/S
                           25. Sydbank A/S
                           26. TDC A/S
                           27. Tryg A/S
                           28. Vestas Wind Systems A/S

 iv. “Defendants” means any of the United States defendants identified on the attached Schedule
     A.

  v. “Dividend(s)” means any dividend received as a result of any interest in a Danish Security,
     including, but not limited to, manufactured dividends and any other dividends not received
     directly from the entity that issued the dividend.

 vi. “SEB” means Skandinaviska Enskilda Banken AB, and its affiliates, subsidiaries,
     predecessors, successors, assigns, principals, officers, directors, employees, agents,
     representatives, and attorneys.

vii. “Shah Entity(ies)” means any company (including, but not limited to, Aesa S.a.r.L.,
     Ganymede Cayman Limited, Elysium Global Limited, Elysium Global Dubai Limited, Old
     Park Lane Capital PLC, Solo Capital Partners LLP, Telesto Markets LLP, and West Point
     Derivatives Ltd.) created, established, founded, or managed by Sanjay Shah.

viii. “Shah-Related Individual(s)” means the principals, officers, directors, employees, agents,
      representatives and attorneys of Shah Entities, including, but not limited to, Jas Bains,

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Sanjeev Dave, Anupe Dwala, Adam Forsyth, Graham McKenzie Horn, Gary Pitts, Nirav
Patel, Craig David Price, Rajen Shah, Sanjay Shah, Jessica Spoto, Frank Vogel, and Dipti
Vyas.

      b. Documents to be Produced

      i.      A list of the accounts at SEB held by any Custodian, Shah Entity, Shah-
              Related Individual, or Defendant during the Applicable Period;

      ii.     Any account statements for any SEB account held by any Custodian, Shah
              Entity, Shah-Related Individual, or Defendant during the Applicable Period;

      iii.    SEB’s stock record showing any holdings of any Danish Security by any
              Custodian, Shah Entity, Shah-Related Individual, or Defendant during the
              Applicable Period;

      iv.     SEB’s cash record showing any holdings of any cash by any Custodian, Shah
              Entity, Shah-Related Individual, or Defendant during the Applicable Period;

      v.      Any document showing the ownership, purchase, sale, borrowing, lending,
              financing, or other trade or transfer or cancellation of any trade or transfer of
              any Danish Security by or on behalf of any Custodian, Shah Entity, Shah-
              Related Individual, or Defendant during the Applicable Period;

      vi.     Any document showing the ownership, purchase, sale, borrowing, lending,
              financing, or other trade or transfer or cancellation of any trade or transfer of
              derivatives based on any Danish Security by or on behalf of any Custodian,
              Shah Entity, Shah-Related Individual, or Defendant during the Applicable
              Period;

      vii.    Any documents, including SWIFT messages, demonstrating the receipt of any
              Dividend by SEB, for or on behalf of any Custodian, Shah Entity, Shah-
              Related Individual, or Defendant during the Applicable Period;

      viii.   Any documents provided to SEB during the opening of any account by the
              any Custodian, Shah Entity, Shah-Related Individual, or Defendant;

      ix.     Any contract or agreement dated or with effect during the Applicable Period
              between SEB and any Custodian, Shah Entity, Shah-Related Individual, or
              Defendant;

      x.      All communications between SEB and any Custodian, Shah Entity, Shah-
              Related Individual, or Defendant during the Applicable Period.




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12. Any requirement that the        The examinations shall be taken under the Federal Rules
    evidence be given on oath       of Civil Procedure of the United States of America,
    or affirmation and any          except to the extent such procedure is incompatible with
    special form to be used         the law of Denmark. The testimony shall be given
    (Article 3,h)                   under oath.

13. Special methods or              The United States District Court for the Southern
    procedure to be followed        District of New York further requests that the Parties’
    (Articles 3,i and 9)            representatives or their designees, a court reporter, and a
                                    videographer be permitted to be present during the
                                    examination and make a verbatim record of the
                                    proceedings; and that the representatives or designees
                                    be permitted to examine and cross-examine the
                                    witnesses directly.

14. Request for notification of     It is requested that testimony be taken at such place,
    the time and place for the      date, or time as ordered by the Ministry of Justice
    execution of the Request        and/or as otherwise scheduled by the representatives of
    and identity and address        the Plaintiffs and/or as otherwise agreed to by the
    of any person to be             witnesses and the respective representatives of the
    notified (Article 7)            Parties.

                                    Notice thereof should be made to Plaintiff’s counsel:
                                    Boris Frederiksen
                                    Kammeradvokaten Poul Schmith
                                    Vester Farimagsgade 23
                                    1606 Copenhagen Denmark

15. Request for attendance or None
    participation of judicial
    personnel of the
    requesting authority at
    the execution of the Letter
    of Request (Article 8)

16. Specification of privilege      Under the laws of the United States, a party has a
    or duty to refuse to give       privilege to refuse to disclose the contents of a
    evidence under the law of       confidential communication between that party and an
    the State of origin (Article    attorney that was made for the purpose of obtaining
    11, b)                          legal advice.

                                    Parties also enjoy limited privileges not relevant here,
                                    such as communications between physician and patient,
                                    psychotherapist and patient, husband and wife, or clergy
                                    and penitent.



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                                  United States law also recognizes a testimonial privilege
                                  for individuals against criminal self-incrimination. This
                                  privilege does not apply to production of documents.

                                  Outside the strict area of privilege, certain limited
                                  immunities are available that may place restrictions on
                                  the giving of evidence, such as the limited protection of
                                  documents created by attorneys in anticipation of
                                  litigation.

    17. The fees and costs          SKAT
        incurred which are
        reimbursable under the
        second paragraph of
        Article 14 or under Article
        26 of the Convention will
        be borne by

Date of Request:

                                                   _________________________________
                                                         Signature and Seal of the
                                                           Requesting Authority




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             SCHEDULE A – DEFENDANTS AND REPRESENTATIVES

                Defendant                                 Representative
Ackview Solo 401K Plain                     Mark D. Allison
Aerovane Logistics LLC Roth 401(K) Plan     Zhanna A. Ziering
                                            Caplin & Drysdale
Blackrain Pegasus LLC Solo 401K Plan        600 Lexington Avenue
Blue Ocean Equity LLC Retirement Plan &     21st Floor
Trust                                       New York, NY 10022
                                            Tel: (212) 379-6000
Bradley Crescenzo                           mallison@capdale.com
Carl Andrew Vergari                         zziering@capdale.com
Cole Enterprises USA Retirement Plan &
Trust
CSCC Capital Pension Plan
Delgado Fox LLC Solo 401K Plan
Doston Bradley
Edgepoint Capital LLC Roth 401(K) Plan
FiftyEightSixty LLC Solo 401K Plan
Gavin Crescenzo
Gyos 23 LLC Solo 401K Plan
Headsail Manufacturing LLC Roth 401K Plan
JML Capital LLC 401K Plan
John LaChance
Kevin Kenning
KK Law Firm Retirement Plan Trust
Matthew Tucci
Mitchell Protass
Natoli Management Pension Plan
Nova Fonta Trading LLC 401K Plan
NYCATX LLC Solo 401K Plan
OneZeroFive LLC Solo 401K Plan
Pegasus Fox 23 LLC Solo 401K Plan
Robert Klugman
Roger Lehman
Sanford Villa Pension Plan
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                   Defendant                              Representative
Sean P. Driscoll
Svetlin Petkov
The 78 Yorktown Pension Plan
The Aria Pension Plan
The Aston Advisors LLC 401K Plan
The Atlantic DHR 401K Plan
The Balmoral Management LLC 401K
Pension Plan
The Beech Tree Partners 401K Plan
The Belforte Pension Plan
The Bella Consultants Pension Plan
The Blackbird 401K Plan
The Bradley London Pension Plan
The Bravos Advisors 401K Plan
The Busby Black 401K Plan
The Cambridge Town Line Pension Plan
The Canada Rock LLC 401K Plan
The Cardinal Consulting Pension Plan
The Chambers Property Management, LLC
401K Plan
The Costello Advisors Pension Plan
The Crow Associates Pension Plan
The Diamond Scott Capital Pension Plan
The Dink 14 LLC 401K Plan
The DMR Pension Plan
The Dosmon BLY Pension Plan
The Egret Associates LLC 401K Plan
The Eskin Pension Plan
The Everything Clean LLC 401K Plan
The Fieldcrest Pension Plan
The FWC Capital LLC Pension Plan
The Green Group Site Pension Plan


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               Defendant                                 Representative
The Hawk Group Pension Plan
The Heron Advisors Pension Plan
The Hibiscus Partners LLC 401K Plan
The Hoboken Advisors LLC 401K Plan
The Hotel Fromance Pension Plan
The Houston Rocco LLC 401K Plan
The India Bombay LLC 401K Pension Plan
The ISDB Pension Plan
The Jayfran Blue Pension Plan
The Joanne E. Bradley Solo 401K Plan
The JT Health Consulting LLC 401K Plan
The Jump Group LLC 401K Plan
The KASV Group Pension Plan
The Kodiak Capital Pension Plan
The Krabi Holdings LLC 401K Plan
The Kyber Pension Plan
The Lakeview Advisors 401K Plan
The LBR Capital Pension Plan
The Lerici Capital Pension Plan
The Ludlow Holdings 401K Plan
The M2F Wellness LLC 401K Plan
The Maple Advisors LLC 401K Plan
The Monin Amper Pension Plan
The Mountain Air LLC 401K Plan
The MPQ Holdings LLC 401K Plan
The Mueller Investments Pension Plan
The NYC Stanismore Pension Plan
The Oak Tree One 401K Plan
The Oaks Group Pension Plan
The Osprey Assocs. LLC 401K Plan
The Patrick Partners Conglomerate Pension
Plan

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               Defendant                                  Representative
The Petkov Management LLC 401K Plan
The Petkov Partners Pension Plan
The Proper Pacific LLC 401K Plan
The Random Holdings 401K Plan
The RDL Consulting Group LLC Pension Plan
The Regoleth Pension Plan
The Robin Daniel Pension Plan
The Saba Capital LLC 401K Plan
The Sandpiper Pension Plan
The Sea Bright Advisors LLC 401K Plan
The Sector 230 LLC 401K Plan
The Shapiro Blue Management LLC 401K
Plan
The Sinclair Pension Plan
The SKSL LLC Pension Plan
The Skybax LLC 401K Plan
The Snow Hill Pension Plan
The SPKK LLC 401K Plan
The Stark Pension Plan
The Stor Capital Consulting LLC 401K Plan
The SVP 401K Plan
The Tag Realty Advisors LLC 401K Plan
The Texas Rocco LLC 401K Plan
The Throckmorton Advisors 401K Plan
The TKKJ LLC 401K Plan
The Valerius LLC Solo 401K Plan
The Wave Maven LLC 401K Plan
The West River Pension Plan
The Westport Advisors LLC 401K Plan
The Westridge Ave LLC 401K Plan
The Zen Training LLC 401(K) Plan
Thomas Kertelits

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                 Defendant                                    Representative
Todd Bergeron
Vincent Natoli
Albedo Management LLC Roth 401(K) Plan            Michelle A. Rice
Ballast Ventures LLC Roth 401(K) Plan             Kaplan Rice LLP
                                                  142 West 57th Street
Bareroot Capital Investments LLC Roth             Suite 4A
401(K) Plan                                       New York, NY 10019
Battu Holdings LLC Roth 401K Plan                 mrice@kaplanrice.com

Cantata Industries LLC Roth 401(K) Plan
Cedar Hill Capital Investments LLC Roth
401(K) Plan
Crucible Ventures LLC Roth 401(K) Plan
David Zelman
Dicot Technologies LLC Roth 401(K) Plan
Eclouge Industry LLC Roth 401(K) Plan
Edwin Miller
Fairlie Investments LLC Roth 401(K) Plan
First Ascent Worldwide LLC Roth 401(K)
Plan
Fulcrum Productions LLC Roth 401(K) Plan
Green Scale Management LLC Roth 401(K)
Plan
Joseph Herman
Keystone Technologies LLC Roth 401(K) Plan
Limelight Global Productions LLC Roth
401(K) Plan
Loggerhead Services LLC Roth 401(K) Plan
Monomer Industries LLC Roth 401(K) Plan
PAB Facilities Global LLC Roth 401(K) Plan
Perry Lerner
Pinax Holdings LLC Roth 401(K) Plan
Plumrose Industries LLC Roth 401K Plan
Roadcraft Technologies LLC Roth 401(K)
Plan


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                 Defendant                                    Representative
Robin Jones
Ronald Altbach
Sternway Logistics LLC Roth 401(K) Plan
Trailing Edge Productions LLC Roth 401(K)
Plan
True Wind Investments LLC Roth 401(K) Plan
Tumba Systems LLC Roth 401(K) Plan
Vanderlee Technologies Pension Plan
Andrea Tew                                       Mark J. Hyland
Autoparts Pensions Group Trust                   Thomas Ross Hooper
                                                 Shrey Sharma
Bernard Tew                                      Seward & Kissel LLP
Bluegrass Investment Management, LLC             One Battery Park Plaza
                                                 New York, NY 10004
Bluegrass Investment Management, LLC             Tel: (212) 574-1200
Retirement Plan                                  hyland@sewkis.com
Bluegrass Retirement Group Trust                 hooper@sewkis.com
                                                 sharma@sewkis.com
Casting Pensions Group Trust
Central Technologies Pensions Group Trust        Philip W. Collier
                                                 John W. Pollom
Industrial Pensions Group Trust
                                                 Stites & Harbison PLLC
Stephanie Tew                                    pcollier@stites.com
SV Holdings, LLC Retirement Plan                 jpollom@stites.com

Tew Enterprises, LLC Retirement Plan
Tew, LP Retirement Plan
Vincent Tew
Azalea Pension Plan                              Caroline Ciraolo
Basalt Ventures LLC Roth 401(K) Plan             Sharon L. McCarthy
                                                 Nicholas S. Bahnsen
Bernina Pension Plan                             Kostelanetz & Fink LLP
Elizabeth Van Merkensteijn                       601 New Jersey Avenue, NW
                                                 Tel: (202) 875-8000
John Van Merkensteijn                            Cciraolo@kflaw.com
Michelle Investments Pension Plan                smccarthy@kflaw.com
                                                 nbahnsen@kflaw.com
Omineca Pension Plan
Remece Investments LLC Pension Plan



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                  Defendant                                   Representative
Starfish Capital Management LLC Roth
401(K) Plan
Tarvos Pension Plan
Voojoo Productions LLC Roth 401(K) Plan
Xiphias LLC Pension Plan
Avanix Management LLC Roth 401K Plan             Allison Stoddart
Batavia Capital Pension Plan                     Alan E. Schoenfeld
                                                 Michael G. Bongiorno
Calypso Investments Pension Plan                 Michael Posada
Cavus Systems LLC Roth 401(K) Plan               WilmerHale
                                                 7 World Trade Center
Hadron Industries LLC Roth 401(K) Plan           250 Greenwich Street
Jocelyn Markowitz                                New York, NY 10007
                                                 Tel: (212) 230-8800
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Routt Capital Pension Plan
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Joan Schulman                                    brandon.dillman@klgates.com
Kamco Investments, Inc. Pension Plan
Kamco LP Profit Sharing Pension Plan
Linden Associates Defined Benefit Plan
Moira Associates LLC 401 (K) Plan
Newsong Fellowship Church 401 (K) Plan
Riverside Associates Defined Benefit Plan
Stacey Kaminer




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                Defendant                                      Representative
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Del Mar Asset Management Saving &                Eric Smith
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Retirement Plan
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Plan                                             esmith@kflaw.com

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Pension Profit Sharing Plan & Trust
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Plan
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Gregory Summers
Shreepal Shah
Tveter LLC Pension Plan
George Hofmeister                                Sheldon Toll
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MSJJ Retirement Group Trust                      James O'Toole
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Sheldon Goldstein                                Martin Kaplan
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                 Defendant                                   Representative
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                              UNREPRESENTED DFENDANTS

                Defendant                                      Address
Raubritter LLC Pension Plan                160 Central Park South, 1726
                                           New York, NY 10019
Bernina Pension Plan Trust                 211 Central Park West, Apartment 2G, New
                                           York, NY 10024
RJM Capital Pension Plan Trust             1010 Fifth Avenue, Apartment 1D, New York,
                                           NY 10028
2321 Capital Pension Plan                  23 East 10th Street, Apartment 220, New York,
                                           NY 10003
Bowline Management Pension Plan            66 West 88th Street, Unit 5B, New York, NY
                                           10024
California Catalog Company Pension Plan    212 Cognewaugh Road, Cos Cob, CT 06807
Clove Pension Plan                         27 Sage Street, Holmdel, NJ 07733
Davin Investments Pension Plan             77 Fifth Avenue, Suite 17D, New York, NY
                                           10003
Delvian LLC Pension Plan                   40 West 57th Street, 20th Floor, New York,
                                           NY 10019
DFL Investments Pension Plan               11 Hughes Street, Rockville Centre, NY 11570
Laegeler Asset Management Pension Plan     441 Menomonee Street, Chicago, IL 60614
Lion Advisory Inc. Pension Plan            45 Perry Street, Suite BW, New York, NY
                                           10014

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                 Defendant                                      Address
Mill River Capital Management Pension Plan   40 West 57th Street, 20th Floor, New York,
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Next Level Pension Plan                      211 Central Park West, Apartment 2G, New
                                             York, NY 10024
Rajan Investments LLC Pension Plan           4506 West Hutchinson, Chicago, IL 60641
Spirit on the Water Pension Plan             211 Central Park West, Apartment 2G, New
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Traden Investments Pension Plan              40 West 57th Street, 20th Floor, New York,
                                             NY 10019




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 In re

 CUSTOMS AND TAX ADMINISTRATION OF
 THE KINGDOM OF DENMARK
 (SKATTEFORVALTNINGEN) TAX REFUND                                     18-md-2865 (LAK)
 SCHEME LITIGATION

 This document relates to: All Cases.


             DECLARATION OF _______________ CERTIFYING RECORDS
                OF REGULARLY CONDUCTED BUSINESS ACTIVITY
               PURSUANT TO FEDERAL RULE OF EVIDENCE 902(12)


               I, ______________________________, hereby declare and certify the following

pursuant to Federal Rule of Evidence 902(12):


               1.      I am currently employed by Skandinaviska Enskilda Banken AB (“SEB”).

My official title is ___________________.

               2.      By reason of my position and experience, I am a duly authorized custodian

of records, or qualified witness, for SEB, and have authority to certify the records herein

described.

               3.      In response to an order of [the Danish Court] dated _____________,

ordering the production of documents identified in a Letter of Request from the District Court of

the Southern District of New York dated _____________, SEB produced [identification of

documents, such as production volume or Bates number] to Neil J. Oxford, Esq., counsel for

Skatteforvaltningen in this matter.




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                 4.     In my capacity as custodian of records for SEB, I certify that, aside from

the production number, the records listed above are true and correct copies of records extracted

from SEB’s business records maintained in the ordinary course of its business.

                 5.     The records listed above were:

                        a.      Made by SEB personnel at or near the time of the occurrence of

the matters set forth therein, by, or from information transmitted by, persons with knowledge of

those matters;

                        b.      Kept by SEB personnel in the course of SEB’s regularly conducted

business activities; and

                        c.      Made by the regularly conducted activities as a regular practice.


                 I certify under penalty of perjury that the foregoing is true and correct.


Date:



                                                                _____________________________




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